                                                  Case 4:12-cv-02296-CW Document 27 Filed 03/28/13 Page 1 of 1




                                           1                     IN THE UNITED STATES DISTRICT COURT

                                           2                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                           3

                                           4   LINDA KNIGHTEN,                                    No. C 12-02296 CW
                                           5                Plaintiff,                            ORDER OF
                                                                                                  REFERENCE TO
                                           6      v.                                              MAGISTRATE JUDGE
                                           7   OMNI HOTEL,
                                           8             Defendant.
                                               ________________________________/
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                                          10        Pursuant to Local Rule 72-1, IT IS HEREBY ORDERED that all
For the Northern District of California




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                                               discovery motions filed in the above-captioned case are referred
    United States District Court




                                          12
                                               to a Magistrate Judge.     Counsel will be advised of the date, time
                                          13
                                               and place of any appearance by notice from the assigned Magistrate
                                          14
                                               Judge.
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                                          16   Dated: 3/28/2013                      CLAUDIA WILKEN
                                          17                                         United States District Judge

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                                               cc: MagRef
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